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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,                   )
                                             )
                                Plaintiff,   )
                                             )                         CRIMINAL ACTION
 v.                                          )
                                             )                         No. 06-20021-05-KHV
 VICTOR M. GALVAN II,                        )
                                             )
                                Defendant.   )
 ____________________________________________)

                                    MEMORANDUM AND ORDER

         On May 26, 2006, a grand jury returned a 21-count indictment which in part charged Victor M.

 Galvan II with conspiracy to possess more than 50 grams of methamphetamine with intent to distribute,

 conspiracy to possess more than 500 grams of cocaine with intent to distribute, conspiracy to possess

 marijuana with intent to distribute, and possession of more than five grams of methamphetamine with intent

 to distribute. Law enforcement officers discovered part of the methamphetamine on defendant’s person

 after they stopped a car which he was driving on December 19, 2005. This matter is before the Court on

 Defendant’s Motion To Suppress Evidence And Statements (Doc. #112) filed March 29, 2006. On

 July 19 and August 21, 2006, the Court held an evidentiary hearing. For reasons set forth below,

 defendant’s motion is overruled.

                                          Factual Background

         Based on the testimony and exhibits at the hearing on defendant’s motion, the Court finds the

 following facts:

         On November 2, 2005, a Confidential Source (CS-1) provided information to the Drug

 Enforcement Administration (DEA) which was investigating methamphetamine trafficking in Kansas City,
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 Kansas. CS-1 made a controlled purchase from Hugo Lechuga of one ounce of methamphetamine for

 $900.00. During the controlled purchase, officers observed Lechuga approach another individual (later

 identified as Kenet Del Cid-Rendon) who supplied the methamphetamine for the controlled purchase.

         A second confidential source (CS-2) advised DEA agents that Hector Moreira was selling

 methamphetamine from Los Compadres Bar and Grill at 4752 State Avenue, Kansas City, Kansas. On

 December 19, 2005, CS-2 participated in a controlled purchase of four ounces of methamphetamine from

 Moreira. Deputy Sheriff Jesse Valdez, who was acting in an undercover capacity, drove CS-2 to Los

 Compadres where they arrived at approximately 7:25 p.m. At the restaurant, Deputy Valdez remained

 in the car while CS-2 phoned Moreira to get further instructions for the purchase. CS-2 told Moreira that

 he was parked in the lot in a gold Nissan. CS-2 then waited in the vehicle along with Deputy Valdez while

 they observed an unknown male driving a grey Ford pickup meet with a Hispanic male in a dark colored

 Dodge Durango. The unknown male was then observed leaving the parking lot in the Ford pickup. CS-2

 then exited the vehicle, walked to the Dodge Durango, which was occupied by two Hispanic males, and

 entered the rear passenger seat. After several minutes, CS-2 departed the Durango and returned to Deputy

 Valdez’s vehicle, which left the parking lot at approximately 7:30 p.m. Following the controlled purchase,

 CS-2 gave officers four individual baggies containing 44.6 grams of “ice” methamphetamine.

         CS-2 reported to agents that two individuals were in the Durango and that he had purchased

 methamphetamine from these same individuals on prior occasions. Based on CS-2’s description, agents

 identified one of the individuals as Del Cid-Rendon. CS-2 informed agents that Del Cid-Rendon had

 numerous additional baggies of methamphetamine in the Durango ready for sale.




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         Surveillance units remained in the vicinity of Los Compadres to continue surveillance of Moreira

 and his counterparts. At approximately 7:40 p.m., agents observed a Lexus pull into the parking lot on the

 west side of Los Compadres. Agents observed the driver of the Lexus exit his vehicle and enter the Dodge

 Durango. After several minutes, the driver of the Lexus exited the Durango and left the area in his vehicle.

 Law enforcement officers attempted to followed the Lexus, but they lost contact with the vehicle as it

 traveled southbound on Interstate 635.

         At approximately 8:45 p.m., agents observed a red Chevrolet Blazer pull into the Los Compadres

 parking lot. At approximately 8:50 p.m., agents observed an unknown Hispanic male walk towards the

 Dodge Durango. Agents observed the Hispanic male signal to the two males sitting in the red Blazer (later

 identified as Justin Bollig and Christopher Greene). Officers observed Greene exit the passenger side of

 the Blazer, walk around to the front passenger side of the Durango and enter the Durango. Approximately

 two minutes later, agents observed Greene exit the Durango and get back into the Blazer, at which time

 the Blazer left the parking lot. Officers followed the Blazer eastbound on State Avenue and Officer Chris

 Blake of the Kansas City, Kansas Police Department (“KCKPD”) and Deputy Valdez initiated a vehicle

 stop.1 Some eight minutes after agents stopped the Blazer, Deputy Valdez announced over the KCKPD

 radio that he had recovered approximately two ounces of crystal methampethamine and that other officers

 should be informed of his finding.2

         1
                 Officers obtained verbal and written consent from Bollig to search the vehicle. Two
 baggies containing 26.3 grams of “ice” methamphetamine were located in the Blazer. Greene was
 interviewed and indicated that he had purchased the methamphetamine for $1,600.00 and that he had
 purchased methamphetamine at Los Compadres approximately seven times in the past few months.
         2
                 The KCKPD radio was not connected to the DEA radio. Accordingly, there was some
                                                                                    (continued...)

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         At approximately 8:50 p.m., agents observed a purple Nissan Altima, registered to Victor Galvan

 (later identified as defendant’s father) of Kansas City, Kansas, park in the lot at Los Compadres. Agents

 saw a Hispanic male (later identified as defendant) exit the Nissan and enter the front passenger side of the

 Durango. Approximately two to three minutes later, agents saw defendant exit the Durango, enter the

 Nissan and depart the area. DEA Agents Michael Sanders and John Fremgen followed the Nissan

 eastbound on State Avenue, to southbound Interstate 635, onto eastbound Interstate 70, at which time the

 agents conducted a vehicle stop near the off ramp at 7th Street.

         The agents approached the vehicle and asked defendant to turn off his vehicle. He refused to do

 so. The agents asked defendant for his driver’s license, registration and proof of insurance. Defendant

 recognized the agents as law enforcement officers, but he refused to produce the requested documentation.3

 Agent Fremgen then asked defendant to step out of his vehicle. Defendant refused to do so, and agents

 forcibly removed him from his vehicle. Agent Fremgen asked defendant if he was carrying any contraband

 or weapons and defendant replied, “No.” Agents proceeded to conduct a pat down of Galvan. Agent

 Fremgen testified that individuals often store narcotics or other contraband in their genital area, and during

 the pat down, defendant pulled away suddenly as Agent Fremgen searched defendant’s mid section. At



         2
           (...continued)
 delay in the transmission of this information to DEA agents who conducted a traffic stop of defendant’s
 vehicle.
         3
                   At the hearing, defendant testified that he did not know who was pulling him over. In his
 statement to police later that evening, however, defendant said that he stuffed the methamphetamine into
 his crotch area because he felt that someone was following him on Interstate 70. In addition, defendant
 testified that the agents’ vehicles had “police lights” in front and agents testified that they had identification
 badges. Therefore the Court finds that defendant understood that the individuals who pulled him over were
 law enforcement officers.

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 one point during the pat down, defendant jerked up his leg. At that point, Agent Fremgen believed that

 defendant was concealing narcotics in the genital area of his body.4

         Agent Sanders handcuffed defendant for further investigation and for agent safety. Agent Fremgen

 turned off defendant’s car. As he did so, he saw what appeared to be a knife between the console and

 the driver’s seat. Agent Sanders placed defendant in the back seat of his official vehicle. Agent Fremgen

 asked defendant if he had any weapons in his vehicle and defendant replied “No.” Agent Fremgen then

 went back to defendant’s vehicle and retrieved a large spring-loaded knife, commonly referred to as a

 switchblade, in the area between the console and the driver’s seat. Shortly thereafter, Agent Fremgen

 received a radio report that officers had recovered two baggies of methamphetamine from the Blazer.5

         Agents arrested defendant for possession of an illegal weapon. A canine search of the vehicle did

 not result in the discovery of any contraband.6 Agents transported defendant to the Wyandotte County Jail

 to conduct a full strip search. Before the search, defendant admitted that he did in fact have



         4
                  At the hearing, defendant admitted that he “wiggled around a little bit” because he did not
 want officers to find the drugs in his crotch area.
         5
                 Agent Fremgen testified that he learned this information shortly before they pulled over
 defendant’s vehicle. Agent Sanders, however, testified that Agent Fremgen learned this information shortly
 after he found the knife in defendant’s vehicle. This apparent discrepancy may be explained if Agent
 Fremgen learned limited information about the stop of the Blazer before agents stopped defendant’s vehicle
 and then heard further detail of the stop of the Blazer after he discovered the knife. The discrepancy
 appears to be innocent misrecollection by one or both of the agents. In any event, for purposes of
 defendant’s motion, the Court assumes that Agent Sanders has correctly recalled the chronology.
         6
                  Defendant testified that after the dogs could not find any drugs, officers discussed letting
 him go, but then they heard some radio conversation which changed their minds. Defendant maintains that
 at that point, officers went back to search the car and discovered the switchblade. The Court rejects
 defendant’s testimony on this issue. Agents discovered the switchblade shortly after they handcuffed
 defendant.

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 methamphetamine concealed in his crotch area and gave officers a baggie containing “ice”

 methamphetamine.

         At the hearing, defendant admitted that during the traffic stop he lied to officers about whether he

 had drugs or weapons and that at the police station that evening, he told officers additional lies about his

 involvement in drug trafficking.

                                                   Analysis

         Defendant argues that officers did not have reasonable suspicion or probable cause to stop his

 vehicle and that they lacked probable cause to conduct a subsequent search of his vehicle.7

 I.      Traffic Stop

         Defendant argues that officers did not have reasonable suspicion or probable cause to stop his

 vehicle and investigate him. Defendant argues that the methamphetamine obtained from his person and his

 statement later that evening were fruits of his unlawful detention and should be suppressed.

         The Tenth Circuit has defined three categories of police/citizen encounters: (1) voluntary

 cooperation in response to non-coercive questioning; (2) investigatory; and (3) arrest. United States v.

 Muldrow, 19 F.3d 1332, 1335 (10th Cir.) (citing United States v. Cooper, 733 F.2d 1360, 1363 (10th

 Cir.), cert. denied, 467 U.S. 1255 (1984)), cert. denied, 513 U.S. 862 (1994); see Terry v. Ohio, 392

 U.S. 1 (1968). This case involves the second category: an investigatory or Terry stop. See United States


         7
                  In his initialmotion, defendant also claimed that (1) officers lacked probable cause to arrest
 him, (2) officers lacked a legal basis to tell him after the arrest that they were going to strip search him for
 narcotics; and (3) he did not voluntarily waive his rights at the police station. See Motion To Suppress
 Evidence And Statements (Without Suggestions) (Doc. #112) filed March 29, 2006. Based on subsequent
 briefing and defense counsel’s statements at the hearing, the Court construes defendant’s motion as
 challenging only the agents’ decision to pull over the vehicle and subsequently search that vehicle.

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 v. Bradford, 423 F.3d 1149, 1156 (10th Cir. 2005) (traffic stops are seizures analogous to investigative

 detentions).

         In deciding whether an investigatory detention is permissible, the Court must determine both

 “whether the officer’s action was justified at its inception, and whether it was reasonably related in scope

 to the circumstances which justified the interference in the first place.” Terry, 392 U.S. at 20. Law

 enforcement officers may stop and briefly detain a person for investigative reasons if the officer has a

 reasonable suspicion that criminal activity may be afoot. United States v. Sokolow, 490 U.S. 1, 7 (1989).

 After an officer resolves the concern that justified the initial stop, any further detention must be supported

 by a reasonable suspicion of criminal activity. See United States v. Alarcon-Gonzalez, 73 F.3d 289,

 292-93 (10th Cir. 1996). Thus, “reasonable suspicion must exist at all stages of the detention, although

 it need not be based on the same facts throughout.” United States v. Soto-Cervantes, 138 F.3d 1319,

 1322 (10th Cir.), cert. denied, 525 U.S. 853 (1998). There must be “specific and articulable facts” to

 support a finding of reasonable suspicion; an “inchoate and unparticularized suspicion or ‘hunch’” is

 inadequate. Terry, 392 U.S. at 21. Moreover, “whether . . . an investigative detention is supported by an

 objectively reasonable suspicion of illegal activity does not depend on any one factor but on the totality of

 the circumstances.” United States v. Soto, 988 F.2d 1548, 1555 (10th Cir. 1993). The Court evaluates

 the officer’s conduct “in light of common sense and ordinary human experience,” deferring to “the ability

 of a trained law enforcement officer to distinguish between innocent and suspicious actions.” United States

 v. Stephenson, 452 F.3d 1173, 1176 (10th Cir. 2006) (internal quotation marks and citations omitted).

         Here, based on the following facts which they knew, officers had reasonable suspicion that

 defendant was involved in criminal activity known to them:

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        1.      At approximately 7:25 p.m. on December 19, 2005 as part of a controlled
                purchase by DEA agents, CS-2 purchased four individual baggies which appeared
                to contain methamphetamine from a Hispanic male in a dark colored Dodge
                Durango parked in the parking lot of the Los Compadres restaurant in Kansas
                City, Kansas. CS-2 told officers that one of the individuals in the Durango was
                Del Cid-Rendon who officers recognized as a supplier of methamphetamine in a
                prior controlled purchase by CS-1. CS-2 reported that Del Cid-Rendon had
                numerous additional baggies of methamphetamine in the Durango ready for sale.

        2.      Immediately before the controlled purchase, officers saw an individual from a grey
                Ford pickup exit his vehicle, meet briefly with one of the individuals in the
                Durango, and then leave the area.

        3.      Immediately after the controlled purchase, at approximately 7:40 p.m., officers
                saw a Lexus pull into the parking lot of Los Compadres. The driver of the Lexus
                entered the Durango for several minutes, and then went back to his vehicle. The
                Lexus immediately left the area at a high rate of speed and was able to evade law
                enforcement officers.

        4.      At approximately 8:45 p.m. that same evening, officers saw a Chevrolet Blazer
                pull into the parking lot of Los Compadres. An unknown Hispanic male (later
                identified as Christopher Greene) exited the Blazer and entered the Durango.
                After some two minutes, agents observed Greene exit the Durango and enter the
                Blazer. Officers followed the Blazer as it left the area.

        5.      At approximately 8:50 p.m. that same evening, officers observed a purple Nissan
                pull into the parking lot of Los Compadres. Defendant exited the Nissan and
                entered the Durango. Approximately three minutes later, agents saw defendant
                exit the Durango and enter the Nissan. Defendant immediately left the parking lot.

        Defendant argues that his mere presence inside the Durango for a short period of time can be as

 consistent with reasonable legal activity as it is with the purchase of drugs. Defendant Victor Galvan’s

 Reply To The Government’s Supplemental Suggestions In Opposition To Motion To Suppress Physical

 Evidence and Statements (Doc. #223) filed September 18, 2006 at 2. Under the circumstances of this

 case, the Court tends to disagree. Even so, “Terry accepts the risk that officers may stop innocent

 people.” Illinois v. Wardlow. 528 U.S. 119, 126 (2000). Even though an individual’s conduct may be

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 ambiguous and susceptible of innocent explanation, officers may detain individuals to resolve the ambiguity.

 Id. at 125; cf. United States v. Reid, 997 F.2d 1576, 1579 (D.C. Cir. 1993) (greater likelihood that

 person in small private residence containing drugs will be involved in drug activity occurring there than

 individual who happens to be in tavern where bartender is suspected of possessing drugs), cert. denied,

 510 U.S. 1132 (1994); United States v. Harvey, 897 F.2d 1300, 1304 (5th Cir. 1990) (driving up next

 to drug house during search established reasonable suspicion), overruled in part on other grounds by United

 States v. Lambert, 984 F.2d 658 (5th Cir. 1993). Based on the totality of the circumstances, officers had

 an objectively reasonable and articulable suspicion that defendant was involved in criminal activity and they

 were justified in stopping defendant’s vehicle to question him.

 II.     Recovery Of Knife – Plain View Exception

         After officers stopped defendant’s vehicle, they could detain defendant only so long as they had

 reasonable suspicion of criminal activity. See Alarcon-Gonzalez, 73 F.3d at 292-93. Here, the officers

 immediately asked defendant to turn off his vehicle and produce identification, but he refused to do so. At

 that point, the officers were justified in removing defendant from his vehicle and conducting a pat down of

 defendant for their safety and further investigation. See United States v. Garcia, 459 F.3d 1059, 1064

 (10th Cir. 2006) (individual’s involvement with drug transactions or distribution can support reasonable

 suspicion to frisk individual for weapons); United States v. Sakyi, 160 F.3d 164, 169 (4th Cir. 1998)

 (when officer has reasonable suspicion that illegal drugs are in vehicle, absent factors allaying his safety

 concerns, he may order occupants out of vehicle and pat them down briefly for weapons to ensure officer

 safety and safety of others). Based on defendant’s conduct during the pat down and his failure to comply

 with the agents’ demands, Agent Fremgen reasonably believed that defendant was attempting to conceal

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  narcotics in the genital area of his body. Accordingly, officers had reasonable suspicion to detain defendant

  for further investigation. As Agent Sanders secured defendant, Agent Fremgen turned off defendant’s

  vehicle and observed in plain view what appeared to be a knife in between the console and the driver’s

  seat.

          Under the “plain view” exception to the exclusionary rule, a police officer may properly seize

  evidence of a crime without a warrant if (1) the officer was lawfully in a position from which to view the

  object seized in plain view; (2) the object’s incriminating character was immediately apparent, i.e. the

  officer had probable cause to believe the object was contraband or evidence of a crime; and (3) the officer

  had a lawful right of access to the object itself. United States v. Carey, 172 F.3d 1268, 1272 (10th Cir.

  1999); United States v. Sanchez, 89 F.3d 715, 719 (10th Cir. 1996). Agent Fremgen’s seizure of the

  knife meets all of these requirements. When he reached in the vehicle to turn it off, Agent Fremgen was

  lawfully in a position to observe the knife. The switchblade’s incriminating character was immediately

  apparent because such weapons are illegal to possess in Kansas. See K.S.A. § 21-4201(a)(1). Finally,

  Agent Fremgen had a lawful right of access to the switchblade because he believed that such a knife was

  illegal to possess under Kansas law. See Soldal v. Cook County, Ill., 506 U.S. 56, 68 (1992) (seizure of

  property in plain view without warrant authorized only when probable cause exists to associate property

  with criminal activity).

          After Agent Fremgen found the knife, agents had probable cause to arrest defendant for possession

  of an illegal weapon. See United States v. Anchondo, 156 F.3d 1043, 1045 (10th Cir. 1998) (probable

  cause to arrest when officer has learned facts and circumstances through reasonably trustworthy information

  which would lead reasonable person to believe that offense had been or was being committed by person



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  arrested). Thereafter, defendant voluntarily produced the methamphetamine from his genital area and gave

  officers a statement about his involvement in drug trafficking. In sum, Agent Fremgen lawfully discovered

  the knife in plain view. The Court therefore overrules defendant’s motion to suppress.

  III.     Recovery Of Knife – Probable Cause To Search Vehicle

           Law enforcement officers ordinarily must obtain a warrant, based on probable cause, before

  conducting a search. See New York v. Belton, 453 U.S. 454, 457 (1981). The Supreme Court has

  recognized an “automobile exception” which has no exigency requirement. See Pennsylvania v. Labron,

  518 U.S. 938, 940 (1996). If a car is readily mobile and officers have probable cause to believe that it

  contains contraband, the Fourth Amendment permits them to search the vehicle. Id.; see Maryland v.

  Dyson, 527 U.S. 465, 466-67 (1999). Probable cause is measured against an objective standard; hence,

  the subjective belief of an individual officer as to probable cause is not dispositive. United States v. Davis,

  197 F.3d 1048, 1051 (10th Cir. 1999). In determining whether probable cause exists, an officer may

  draw inferences based on his own experience. United States v. Mercado, 307 F.3d 1226, 1230 (10th Cir.

  2002).

           Even if Agent Fremgen had not observed the knife in plain view when he turned the vehicle off, he

  had probable cause to search the vehicle for narcotics and/or weapons at that point. In United States v.

  Artez, 389 F.3d 1106 (10th Cir. 2004), the Tenth Circuit held that officers had probable cause for a search

  warrant of a house based on (1) a tip from a confidential informant that methamphetamine was being

  distributed at defendant’s residence; (2) the successful execution of two controlled buys of

  methamphetamine from the residence; (3) a tip from an anonymous informant to a different police unit that

  methamphetamine was being distributed at the residence; (4) the results of surveillance of the residence



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  which indicated a series of visitors staying for short periods of time, consistent with drug trafficking activity;

  and (5) the narcotics-related criminal histories of four inhabitants or frequent visitors of the suspect

  residence, including an active arrest warrant against one of these individuals for possession of drug

  paraphernalia. Id. at 1114; see also United States v. Corral, 970 F.2d 719, 727 (10th Cir. 1992). Many

  of the same factors are present in this case.           They include (1) a successful controlled buy of

  methamphetamine from Del Cid-Rendon some six weeks earlier; (2) a successful controlled buy of

  methamphetamine from Del Cid-Rendon in the parked Dodge Durango some 80 minutes earlier; (3) the

  statement of CS-2 that Del Cid-Rendon had numerous additional baggies of methamphetamine in the

  Durango; and (4) surveillance by officers which indicated a series of individuals stopping in the parking lot,

  entering the Durango for some three minutes and then immediately leaving the area in their own vehicles.

  In addition, before the officers searched defendant’s car, they observed that (1) defendant did not comply

  with requests to turn off his vehicle and produce his driver’s license, proof of insurance and vehicle

  registration; and (2) defendant pulled away and jerked his leg in a manner which suggested to a trained

  officer that he was concealing contraband in his genital area. Based on the totality of circumstances,

  officers had probable cause to believe that defendant’s vehicle contained contraband.

          Once probable cause is established, an officer may search the entire vehicle, including the trunk and

  all containers therein that might contain contraband. United States v. Ross, 456 U.S. 798, 825 (1982).

  Agent Fremgen therefore rightfully recovered the switchblade, whether it was located under the driver’s

  seat, as defendant maintains, or between the console and the driver’s seat, as the officers maintain.

  Because the search of defendant’s vehicle was proper under the so-called “automobile exception” to the

  exclusionary rule, the Court overrules defendant’s motion to suppress.



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        IT IS THEREFORE ORDERED that Defendant’s Motion To Suppress Evidence And

  Statements (Doc. #112) filed March 29, 2006 be and hereby is OVERRULED.

        Dated this 8th day of November, 2006, at Kansas City, Kansas.


                                             s/ Kathryn H. Vratil
                                             KATHRYN H. VRATIL
                                             United States District Judge




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